IN/ND case 3:23-cv-00967-DRL-MGG document 8-4 filed 02/01/24 pag


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 ■   Print your name and address on the reverse
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 ■ Attach this card to the back of the mailpiece,
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 PS Form 3811, July 2020 PSN 7530-02-000-9053                                                                Domestic Return Receipt
